                  Case 2:06-cr-00256-GEB Document 32 Filed 11/03/06 Page 1 of 2


          Shari Rusk, Bar No. 170313
      1   Attorney at Law
          1710 Broadway, #111
      2   Sacramento, California 95818
          Tel: (916) 804-8656
      3   Fax: (916)443-1165
          Email: Rusklaw@comcast.net
      4

      5
                               IN THE UNITED STATES DISTRICT COURT
      6
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
      7

      8                                            ) Case No.: CR.S. 06-256 GEB
          United States of America,                )
      9                                            ) STIPULATION AND ORDER TO CONTINUE
                      Plaintiff,                   ) STATUS CONFERENCE
     10                                            )
                vs.                                ) DATE:   December 8, 2006
     11                                            ) TIME:   9:00 a.m.
                                                   ) COURT: Hon. Garland E. Burrell
     12   Johan Gajsek,                            )
                                                   )
     13               Defendant
     14

     15

     16         Defendants Johan Gajsek and Sukrajan Mann are charged in an
     17   indictment alleging four counts of violations of 21 U.S.C. §§s
     18   841(a)(1) & 846 – Conspiracy to Distribute and Possess with Intent to
     19   Distribute MDMA.     A status conference was set for November 3, 2006.
     20   The government has produced a large volume of discovery including
     21   videotapes and CD roms.      The parties are reviewing discovery and
     22   engaging in investigation, as well as involved negotiations regarding
     23   settlement of this matter.
     24         The parties therefore request that the status conference be
     25   continued to December 8, 2006 at 9:00 a.m.           This date is available
     26   with the Court.      The parties agree that time should be excluded under
     27   ///
     28




                                                  -1-
PDF created with pdfFactory trial version www.pdffactory.com
                  Case 2:06-cr-00256-GEB Document 32 Filed 11/03/06 Page 2 of 2



      1   18 U.S.C. § 3161(h)(8)(i) for defense preparation and under local code

      2   T4.

      3

      4
          Dated: November 2, 2006                Respectfully submitted,
      5

      6

      7
                                                 _/s/ Shari Rusk________
                                                 Shari Rusk
      8                                          Attorney for Defendant
                                                 Johan Gajsek
      9

     10   Dated: November 2, 2006
                                           /s/ Greg Foster by SR____
     11                                    Greg Foster
                                           Attorney for Defendant
     12
                                           Sukrajan Mann
     13

     14   Dated: November 2, 2006          /s/ Robert Twiss by SR
                                             Robert Twiss
     15                                      Assistant United States Attorney

     16

     17

     18                                          ORDER
     19

     20         IT IS SO ORDERED.      The Court finds excludable time through
     21   December 8, 2006, based on Local Code T4, giving counsel reasonable
     22   time to prepare.
     23   DATED: November 3, 2006
     24

     25

     26                                          GARLAND E. BURRELL, JR.
                                                 United States District Judge
     27

     28




                                                  -2-
PDF created with pdfFactory trial version www.pdffactory.com
